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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS



 KIRA WAHLSTROM,

                    Plaintiff,

 v.                                                       C.A. NO. 1:22-cv-10792-RGS

 DAVID J. HOEY, LAW OFFICES OF
 DAVID J. HOEY, P.C., DON C. KEENAN,
 D.C. KEENAN & ASSOCIATES, P.C. d/b/a
 THE KEENAN LAW FIRM, P.C., AND
 KEENAN’S KIDS FOUNDATION, INC.,

                    Defendants.



            ANSWER, COUNTERCLAIM, AND JURY DEMAND OF
       ATTORNEY DON C. KEENAN AND D.C. KEENAN & ASSOCIATES, P.C.
                   d/b/a THE KEENAN LAW FIRM, P.C.

       The Defendants Attorney Don C. Keenan and D.C. Keenan & Associates, P.C. d/b/a The

Keenan Law Firm, P.C. (collectively “Keenan”) answer the Plaintiff’s First Amended Complaint

as follows:

                                        INTRODUCTION

       1.      Keenan admits that the Plaintiff was assaulted, filed a suit that is a matter of

public record, and was represented by Keenan and others. Otherwise, Keenan denies the

allegations in this paragraph.

       2.      Keenan admits that he assisted in the trial and achieved an award, and that the

Plaintiff has been sued by her prior counsel. Otherwise, Keenan denies the allegations in this

paragraph.


                                          THE PARTIES

       3.      Keenan admits the truth of the allegations in this paragraph.

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       4.       Keenan admits the truth of the allegations of this paragraph.

       5.       Keenan admits the truth of the allegations of this paragraph.

       6.       Keenan admits that he has places of business in Florida and Georgia. Otherwise,

Keenan denies the allegations in this paragraph.

       7.       Keenan admits that he has places of business in Florida and Georgia. Otherwise,

Keenan denies the allegations in this paragraph.

       8.       Keenan admits the truth of the allegations of this paragraph.

                                  JURISDICTION AND VENUE

       9.       Keenan denies the allegations in this paragraph.

       10.      Keenan denies the allegations in this paragraph.

                                             FACTS
             The Underlying Premises Liability Case and Fee Agreements for that Case

       11.      Keenan admits that the Plaintiff was assaulted, filed suit, and made the allegations

that appear in this paragraph. Otherwise, Keenan lacks knowledge or information sufficient to

form a belief as to the truth of the allegations in this paragraph.

       12.      Keenan admits the truth of the allegations in this paragraph.

       13.      Keenan admits that the Plaintiff was assaulted, filed a suit that is a matter of

public record, and made the allegations that appear in this paragraph. Otherwise, Keenan lacks

knowledge or information sufficient to form a belief as to the truth of the allegations in this

paragraph.

       14.      Keenan admits the truth of the allegations in this paragraph.

       15.      Keenan admits the truth of the allegations in this paragraph.

       16.      Keenan admits that the referenced agreement speaks for itself. Otherwise,

Keenan lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in this paragraph.
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       17.     Keenan admits that the referenced agreement speaks for itself. Otherwise,

Keenan lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in this paragraph.

       18.     Keenan admits that the referenced agreement speaks for itself. Otherwise,

Keenan lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in this paragraph.

       19.     Keenan lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in this paragraph.

       20.     Keenan admits the truth of the allegations in this paragraph.

       21.     Keenan admits the truth of the allegations in this paragraph.

       22.     Keenan admits that the emails speak for themselves, but otherwise lacks

knowledge or information sufficient to form a belief as to the truth of the allegations in this

paragraph.

       23.     Keenan lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in this paragraph.

       24.     Keenan lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in this paragraph.

       25.     Keenan admits that the emails speak for themselves, but otherwise denies the

allegations in this paragraph.

       26.     Keenan admits that the Agreement speaks for itself. Otherwise, Keenan denies

the allegations in this paragraph.

       27.     Keenan admits that the emails speak for themselves, but otherwise denies the

allegations in this paragraph.

       28.     Keenan admits the truth of the allegations in this paragraph.

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       29.     Keenan admits the truth of the allegations in this paragraph.

               Defendants’ Trial Misconduct Resulting in a New Trial Motion and
               Appeal both Substantially Delaying Payment to Plaintiff Wahlstrom

       30.     Keenan admits that there was a motion and an order that speak for themselves.

Otherwise, Keenen denies the allegations in this paragraph.

       31.     Keenan admits that there was an interlocutory appeal. Otherwise, Keenan lacks

knowledge or information sufficient to form a belief as to the truth of the allegations in this

paragraph.

       32.     Keenan lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in this paragraph.

       33.     Keenan denies the allegations in this paragraph.

       34.     Keenan admits the truth of the allegations in this paragraph.

       35.     Keenan admits that he did not appear in the Appeals Court. Otherwise, he denies

the allegations in this paragraph.

       36.     Keenan admits that the Appeals Court decision speaks for itself. Otherwise,

Keenan lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in this paragraph.

       37.     Keenan admits that the Appeals Court decision speaks for itself. Otherwise,

Keenan denies the allegations in this paragraph.

       38.     Keenan denies the allegations in this paragraph.

                                        Attorney’s Lien Dispute

       39.     Keenan lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in this paragraph.

       40.     Keenan lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in this paragraph.
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       41.     Keenan lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in this paragraph.

       42.     Keenan lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in this paragraph.

       43.     Keenan lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in this paragraph.

       44.     Keenan lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in this paragraph.

       45.     Keenan lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in this paragraph.

                       Improper Fees Charged to Ms. Wahlstrom and Taken
                        by Defendants from Monies Held in Trust for Her

       46.     Keenan lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in this paragraph.

       47.     Keenan denies the allegations in this paragraph.

       48.     Keenan lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in this paragraph.

       49.     Keenan lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in this paragraph.

       50.     Keenan denies the allegations in this paragraph.

                    Improper Expenses Charged to Ms. Wahlstrom and Taken
                      by Defendants from the Monies Held in Trust for Her

       51.     Keenan denies the allegations in this paragraph.

       52.     Keenan denies the allegations in this paragraph.

       53.     Keenan denies the allegations in this paragraph.

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       54.     Keenan denies the allegations in this paragraph.

       55.     Keenan denies the allegations in this paragraph

                                        The O’Toole Lawsuit

       56.     Keenan admits that the agreement speaks for itself. Otherwise, Keenan denies the

allegations in this paragraph.

       57.     Keenan lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in this paragraph.

       58.     Keenan admits that O’Toole filed a complaint that speaks for itself. Otherwise,

Keenan lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in this paragraph.

       59.     Keenan admits the allegations in this paragraph.

       60.     Keenan denies the allegations in this paragraph.

       61.     Keenan denies the allegations in this paragraph.

       62.     Keenan denies the allegations in this paragraph.

       63.     Keenan lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in this paragraph.

       64.     Keenan lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in this paragraph.

       65.     Keenan lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in this paragraph.

       66.     Keenan lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in this paragraph.

       67.     Keenan lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in this paragraph.

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       68.     Keenan admits that Judge Krupp issued an order that speaks for itself. Otherwise,

Keenan denies the allegations in this paragraph.

                         Defendants’ Willful and Knowing Misconduct

       69.     Keenan denies the allegations in this paragraph.

       70.     Keenan denies the allegations in this paragraph.

       71.     Keenan denies the allegations in this paragraph.

       72.     Keenan denies the allegations in this paragraph.

       73.     Keenan denies the allegations in this paragraph.

       74.     Keenan denies the allegations in this paragraph.

                                     CAUSES OF ACTION
                                         COUNT I

       75.     Keenan repeats, realleges, and incorporates all of the above responses.

       76.     Keenan denies the allegations in this paragraph.

       77.     Keenan denies the allegations in this paragraph.

       78.     Keenan denies the allegations in this paragraph.

       79.     Keenan denies the allegations in this paragraph.

       80.     Keenan denies the allegations in this paragraph.

       81.     Keenan denies the allegations in this paragraph.

       82.     Keenan denies the allegations in this paragraph.

                                        COUNT II
                             BREACH OF FIDUCIARY DUTY
                   (Defendants Hoey, Hoey Law, Keenan, and Keenan Law)

       83.     Keenan repeats, realleges, and incorporates all of the above responses.

       84.     Keenan denies the allegations in this paragraph.

       85.     Keenan denies the allegations in this paragraph.

       86.     Keenan denies the allegations in this paragraph.
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 87.    Keenan denies the allegations in this paragraph.

                                COUNT III
                                  FRAUD
            (Defendants Hoey, Hoey Law, Keenan, and Keenan Law)

 88.    Keenan repeats, realleges, and incorporates all of the above responses.

 89.    Keenan denies the allegations in this paragraph.

 90.    Keenan denies the allegations in this paragraph.

 91.    Keenan denies the allegations in this paragraph.

 92.    Keenan denies the allegations in this paragraph.

 93.    Keenan denies the allegations in this paragraph.

 94.    Keenan denies the allegations in this paragraph.

 95.    Keenan denies the allegations in this paragraph.

 96.    Keenan denies the allegations in this paragraph.

 97.    Keenan denies the allegations in this paragraph.

                                COUNT IV
                               CONVERSION
(Defendants Hoey, Hoey Law, Keenan, Keenan Law, and Keenan’s Kids Foundation)

 98.    Keenan repeats, realleges, and incorporates all of the above responses.

 99.    Keenan denies the allegations in this paragraph.

 100.   Keenan denies the allegations in this paragraph.

 101.   Keenan denies the allegations in this paragraph.

 102.   Keenan denies the allegations in this paragraph.

                                 COUNT V
                       DEMAND FOR ACCOUNTING
              (Defendants Hoey, Hoey Law, Keenan, Keenan Law)

 103.   Keenan repeats, realleges, and incorporates all of the above responses.

 104.   Keenan denies the allegations in this paragraph.

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        105.   Keenan denies the allegations in this paragraph.

        106.   Keenan denies the allegations in this paragraph.

        107.   Keenan denies the allegations in this paragraph.

                                          COUNT VI
                                MONEY HAD AND RECEIVED
                              (Defendant Keenan’s Kids Foundation)

        108.   Keenan repeats, realleges, and incorporates all of the above responses.

        109.   These allegations are directed at another defendant. To the extent a further

answer is required, Keenan denies the truth of the allegations in this paragraph.

        110.   These allegations are directed at another defendant. To the extent a further

answer is required, Keenan denies the truth of the allegations in this paragraph.

        111.   These allegations are directed at another defendant. To the extent a further

answer is required, Keenan denies the truth of the allegations in this paragraph.

                                   AFFIRMATIVE DEFENSES

                                               First

        The Complaint fails to state a claim upon which relief may be granted.

                                             Second

        The action is late and barred by the applicable statutes of limitation.

                                              Third

        The action is barred or reduced by the doctrines of voluntary payment, estoppel, res

judicata, waiver, unclean hands, accord and satisfaction, and failure to mitigate.

                                             Fourth

        Keenan at all times acted in good-faith reliance on applicable legal principles and

authorities.




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                                             Fifth

       Any damages or losses claimed or incurred by the Plaintiff were caused by the acts of

third parties that were unforeseeable and beyond the control of Keenan and are not the

responsibility of Keenan.

                                             Sixth

       Any damages or losses claimed or incurred by the Plaintiff were the result of supervening

and intervening causes unrelated to the conduct of Keenan.

                                           Seventh

       The Plaintiff failed to mitigate any damages or losses that she claims.

                                            Eighth

       Any damages or losses that the Plaintiff may have suffered were not proximately caused

by Keenan, but were caused by a person or entity for which Keenan is not responsible.

                                            Ninth

       The action is barred because Keenan fairly represented the Plaintiff at all times and the

value of the services Keenan provided exceeded all compensation paid by the Plaintiff for those

services.

                                            Tenth

       The action is barred because Keenan did not cause the Plaintiff harm and fully complied

with all applicable standards of care.

                                           Eleventh

       The Plaintiff has failed to comply with procedural prerequisites to a 93A suit.

                                            Twelfth

       Keenan’s conduct was neither unfair, nor deceptive, nor knowing/willful. Keenan did not

violate Chapter 93A, and Keenan’s conduct caused the Plaintiff no harm or damages.



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       For the foregoing reasons, the Defendants Attorney Don C. Keenan and D.C. Keenan &

Associates, P.C. d/b/a The Keenan Law Firm, P.C. demand that the complaint be dismissed, and

judgment entered in their favor, and that they be awarded all attorneys’ fees and costs.

                   COUNTERCLAIM OF DON C. KEENAN AND D.C.
            KEENAN & ASSOCIATES, P.C. D/B/A THE KEENAN LAW FIRM

                                             PARTIES

       1.      The Plaintiffs-in-Counterclaim are Attorney Don C. Keenan and his firm D.C.

Keenan & Associates, P.C. d/b/a The Keenan Law Firm (collectively “Keenan”).

       2.      The Defendant-in-Counterclaim is Kira Wahlstrom.

                                  RELEVANT BACKGROUND

       3.      In June, 2015, Wahlstrom and Keenan signed a Massachusetts Contingent Fee

Agreement (“CFA”) in which Wahlstrom engaged Keenan to represent her in the subject

premises liability/personal injury matter.

       4.      Paragraph 4 of the CFA identifies as “Referring/Associated Counsel” the Law

Offices of David J. Hoey, P.C. (“Hoey”).

       5.      Paragraph 10 of the CFA provides in pertinent part as follows:

                  The Client [Wahlstrom] is responsible for payment of all
                  of the Client’s former/prior counsel’s reasonable
                  attorney’s fees and reasonable costs and expenses and the
                  cost of resolving any dispute between the Client and any
                  other prior counsel over fees or expenses relating to the
                  claim . . . , except if the former/prior counsel is [Hoey].

       6.      Wahlstrom’s former/prior counsel Austin O’Toole has sued Wahlstrom, Keenan,

and Hoey in the Superior Court in Suffolk County Civil Action 2184-cv-00741. Among other

things, O’Toole alleges that he has not been paid in full and that the defendants there owe him

fees and expenses in connection with his prior representation of Wahlstrom; and he seeks

damages.


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       7.       Keenan has incurred attorney’s fees and expenses in defending and responding to

the O’Toole suit; those fees and costs are ongoing.

       8.       In the instant suit, Wahlstrom alleges among other things that she has incurred

damages due to the O’Toole suit. For example, Wahlstrom alleges in pertinent part as follows:

                  [Keenan’s] wrongful conduct also resulted in Ms.
                  Wahlstrom being sued by [O’Toole,] who claims these
                  same attorneys deceptively and improperly altered their
                  representation agreements with Ms. Wahlstrom for their
                  own benefit . . . . Defendants’ fraudulent and unethical
                  conduct and rejection of Ms. Wahlstrom’s request for
                  reimbursement . . . have compelled this suit.

(Amend. Comp. ¶ 2.)

Further:

                  [Keenan has] taken funds from Ms. Wahlstrom to which
                  [he was] not entitled, and [that] conduct also resulted in
                  her being named a defendant in the O’Toole case in
                  relation to which she has been charged more legal fees.

(Amend. Comp. ¶ 74.)

And:

                  [Keenan’s] change in the fee agreement and the reduced
                  payment to O’Toole resulted in O’Toole filing a lawsuit
                  claiming his fee was wrongfully reduced and suing Ms.
                  Wahlstrom as one of the defendants, requiring
                  representation, attorney’s fees and costs for which Ms.
                  Wahlstrom has been billed over $40,000.

(Amend. Comp. ¶ 93; see generally ¶¶ 56-68) Wahlstrom seeks to hold Keenan liable for these

alleged damages from her dispute with her prior counsel O’Toole.

       9.       In the Suffolk County action brought by O’Toole, the Court (Krupp, J.) recently

issued an order on defense motions to dismiss, and in the order the Court discussed the CFA and

its paragraphs 4 and 10. The Court ruled in pertinent part as follows:

                  [P]aragraph 10 can only be read as an indemnification
                  clause.

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                                             *****

                  As between Keenan and Wahlstrom, Wahlstrom agreed
                  effectively to hold Keenan harmless from a claim that
                  prior counsel still had to be paid.

(March 25, 2022 Mem. and Order on Motions to Dismiss, pp. 9, 10-11.) The Court thus

confirmed as a matter of fact and law that Wahlstrom must defend, indemnify, and hold Keenan

harmless against all claims, suits, and damages sought by O’Toole or claims/suits derivative of

those brought by O’Toole, such as the instant claims asserted by Wahlstrom.

                                      COUNTERCLAIM
                                     CAUSES OF ACTION

                                        (COUNT I)
                                   BREACH OF CONTRACT

       10.     Keenan repeats, realleges, and incorporates all of the above allegations.

       11.     Wahlstrom is bound by the CFA that she entered into with Keenan. She

unambiguously agreed in the CFA to defend, indemnify, and hold Keenan harmless as against

claims arising from fee disputes with her prior counsel O’Toole.

       12.     By demanding relief and payment from Keenan, and by bringing this suit against

Keenan seeking damages allegedly due to the O’Toole claim and suit, Wahlstrom has breached

the CFA and her promise to defend, indemnify, and hold Keenan harmless.

       13.     Wahlstrom’s breach of contract has caused Keenan harm, damages, and the loss

of the consideration he bargained for. Keenan’s harm and damages include attorney’s fees and

costs incurred in defending the O’Toole suit and the instant suit, as well as any award or

judgment obtained by O’Toole.

       14.     Wahlstrom is obligated to indemnify Keenan as against all claims and damages

asserted by O’Toole and all claims asserted in the instant action that are derivative of O’Toole’s

claims. That obligation includes paying all defense costs incurred by Keenan and paying any

judgment entered in favor of O’Toole.
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       15.     Keenan’s damages continue to grow as O’Toole and Wahlstrom press their suits.

Wahlstrom is liable for breach of contract.

                                         (COUNT II)
                                      INDEMNIFICATION

       16.     Keenan repeats, realleges, and incorporates all of the above allegations.

       17.     Wahlstrom is bound by the CFA that she entered into with Keenan. She

unambiguously agreed in the CFA to defend, indemnify, and hold Keenan harmless as against

claims arising from a fee dispute with her prior counsel O’Toole.

       18.     By demanding relief and payment from Keenan, and by bringing this suit against

Keenan seeking damages allegedly due to the O’Toole claim and suit, Wahlstrom has breached

the CFA and her promise to defend, indemnify, and hold Keenan harmless against such claims

and damages.

       19.     Wahlstrom’s breach of her indemnification agreement has caused Keenan harm,

damages, and the loss of the consideration he bargained for. Keenan’s harm and damages

include attorney’s fees and costs incurred in defending the O’Toole suit and the instant suit, as

well as any award or judgment obtained by O’Toole.

       20.     Wahlstrom is obligated to indemnify Keenan as against all claims and damages

asserted by O’Toole and all claims asserted in the instant action that are derivative of O’Toole’s

claims. That obligation includes paying all defense costs incurred by Keenan and paying any

judgment entered in favor of O’Toole.

       21.     Keenan’s damages continue to grow as O’Toole and Wahlstrom press their suits.

Wahlstrom is liable for breach of her indemnification agreement.

       For all of the foregoing reasons, the Defendants Attorney Don C. Keenan and D.C.

Keenan & Associates, P.C. d/b/a The Keenan Law Firm demand judgment in their favor on their

Counterclaim for:
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     a)     damages;

     b)     attorney’s fees;

     c)     interest and costs; and

     d)     such other and further relief as the Court deems just.

                                         JURY DEMAND

     The Defendants/Plaintiffs-in-Counterclaim demand a trial by jury.



                                               DON C. KEENAN, D.C.
                                               KEENAN & ASSOCIATES, P.C. d/b/a
                                               THE KEEAN LAW FIRM, P.C.,
                                               By their Attorneys,




                                               John J. O’Connor
                                               BBO #555251
                                               PEABODY & ARNOLD, LLP
                                               Federal Reserve Plaza
                                               600 Atlantic Avenue
                                               Boston, MA 02210-2261
                                               Phone: (617) 951-2100
                                               Fax: (617) 951-2125
Dated: September 16, 2022                      joconnor@peabodyarnold.com




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                               CERTIFICATE OF SERVICE

      I, John J. O’Connor, hereby certify that a copy of the foregoing document has been served
via ECF and email on this 16th day of September, 2022 to:

Bridget A. Zerner, Esq.
John J.E. Markham, II, Esq.
Markham Read Zerner LLC
Once Commercial Wharf West
Boston, MA 02110
bzerner@markhamreadzerner.com
jmarkham@markhamreadzerner.com




                                                   John J. O’Connor



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